900 F.2d 250Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Theodore CULP, Plaintiff-Appellant,v.A. Green NEAL;  Parker Evatt, Jr.;  Patricia Satterfield,Defendants-Appellees.
    No. 90-6000.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 14, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  G. Ross Anderson, Jr., District Judge.  (C/A No. 88-71-3H-3).
      Theodore Culp, appellant pro se.
      Robert Eric Petersen, South Carolina Department of Corrections, Columbia, S.C., for appellees.
      D.S.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Theodore Culp appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Culp v. Neal, C/A No. 88-71-3H-3 (D.S.C. Dec. 7, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    